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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

   ZACHARY BRILL, individually
   and on behalf of all others similarly
   situated,
                                                     CASE NO.:
           Plaintiff,
   v.
                                                     CLASS ACTION COMPLAINT
   LANDMARK PROPERTY SERVICES, LLC
   d/b/a LANDMARK PROPERTIES and 908 –               JURY TRIAL DEMANDED
   SCANNELL (TALLAHASSEE), LLC,

           Defendants.
                                                /

                                           COMPLAINT

                                       Summary of the Claims

          1.     Defendant, Landmark Property Services, LLC d/b/a Landmark Properties

  (hereinafter referred to as “Landmark”) manages private student housing at colleges and

  universities throughout Florida, including The Nine at Tallahassee a/k/a Nine Tallahassee at

  Florida State University, apparently owned by Defendant, 908 – Scannell (Tallahassee), LLC,

  (hereinafter referred to as “The Nine”) where Plaintiff, Zachary Brill, leased a student housing

  apartment. The core offering of these student housings are the resort-style community amenities

  and the college experience: closely-packed shared living quarters, rooftop resort-style pool,

  community activities, fitness room, gaming lounge, 24/7 printing & study center and close ties to

  the universities.

          2.     As a result of the COVID-19 pandemic, universities throughout Florida and the

  nation have ordered that the university campuses be vacated to preserve the safety of the students

  and the public. The university-run facilities that students have been asked to evacuate include
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  residences similar in physical layout to the facilities operated and managed by the Defendant,

  which were recognized as unsafe due to the elevated risk of disease transmission inherent to high-

  density housing with extensive shared common areas. Furthermore, these universities, recognizing

  that it would be inequitable and improper to charge students for housing that became unsafe to

  occupy, have been refunding housing money to students and their families.

         3.     In contrast to the responsible actions of the universities, Landmark, is retaining all

  funds that their tenants have paid — and continues to demand payment from those who pay month-

  to-month — for room, and other services and amenities, even though Landmark cannot safely

  provide them and the students have moved out.

         4.     Plaintiff brings this action on his own behalf and on behalf of a class of persons who

  executed leases to reside at the student housing managed by Defendant, Landmark, throughout

  Florida, but who have not received the bargained-for services.

                                                Parties

         5.     Plaintiff, Zachary Brill, is a citizen of Florida, residing in Weston. Mr. Brill signed

  a lease for a bedroom that is part of a unit of bedrooms within the floor plan D3 at The Nine for

  the Fall 2019-Summer 2020 academic school year.

         6.     Defendant, Landmark Property Services, LLC d/b/a Landmark Properties, is a

  Florida corporation. Defendant, Landmark, is the manager of more than 102 student housing

  apartment complexes, throughout the United States.

         7.     Defendant, 908 – Scannell (Tallahassee), LLC (“hereinafter referred to as 908”) is

  the landlord of The Nine and, as did all other landlords of Florida student housing properties

  managed by Landmark, contracted with Landmark to provide property management, ranging from

  day to day operations and financial budgeting, to marketing and product development. The precise




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  relationship between Defendant, 908, and Defendant, Landmark, is unknown, but will be revealed

  by discovery.

                                           Jurisdiction and Venue

          8.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A),

  because this case is a class action where the aggregate claims of all members of the proposed Class

  are in excess of $5,000,000, exclusive of interest and costs, and most members of the proposed

  Class are citizens of the state of Florida.

          9.      This Court has general jurisdiction over Defendants, which conduct substantial

  business within Florida, and thus has significant, continuous, and pervasive contacts with the State.

          10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because the challenged

  fee practices have been committed in this District, and because Plaintiff suffered the alleged harm

  in this District.

                                                    Facts

      A. Landmark advertises and sells “student apartments” to college students.

          11.         Student housing is in high demand at Florida State University and nearby colleges.

  Students may choose to live in college-owned dormitories or private off-campus apartments. The

  Nine, managed by Defendant, Landmark, offers a third option — “student apartments” in

  Tallahassee, Florida, serving attendees of Florida State University, Tallahassee Community

  College, and Florida Agricultural and Mechanical University.

          12.         Landmark advertises its student housing to its target demographic — college

  students — stating their student housing was “designed specifically for the technology-driven, go

  getter students of today.” They further advertised “[t]he best apartment features & resort-style

  community amenities in town, all within walking distance to Doak Campbell Stadium and the


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  heart of the Florida State University campus.” In addition, touts amenities specifically geared to

  students, such as; 24/7 print and study centers, clubhouse, resort-style pool, grilling station, TV

  lounge with gaming consoles, coffee bar, fitness room and fire pit.

         13.    In addition to The Nine, Landmark manages at least eleven additional private

  student apartments in Florida, including; The Standard at Tampa, The Station Alafaya, The

  Standard at Tallahassee, The Retreat at USF, The Standard at Gainesville, The Retreat at

  Gainesville, GrandMarc Tallahassee, The One at University City, The Standard Coral Gables, and

  The Retreat East.

         14.    The lease agreement executed by Plaintiff and all other Class Members of

  Landmark’s Florida student housing locations are substantially similar, if not identical.

         15.    Each lease agreement entered into by Plaintiff and Class Members was executed by

  an employee of Landmark, on behalf of the landlord.

         16.    As will be demonstrated through discovery, Landmark handled all decision making

  regarding operations, closures as a result of the COVID pandemic, and decisions regarding lease

  payments and collections at each of the private Florida student housings it managed.

     B. Allegations Regarding Plaintiff, Zachary Brill

         17.    Plaintiff, Zachary Brill, is a student at Florida State University. He selected The

  Nine based primarily on its student housing amenities, particularly its close proximity to the

  campus of Florida State University, living arrangements, clubhouse, resort-style pool, grilling

  station, gaming lounge, coffee bar, fitness room and fire pit.

         18.    Plaintiff, Zachary Brill, executed a Lease Agreement for the Fall 2019, Spring 2020

  and Summer 2020 semester. Plaintiff was eligible to move into the apartment on August 21,




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  2019. The signatory to the contract was employed by Defendant, Landmark, who signed the

  contract on behalf of the landlord, 908 – Scannell (Tallahassee), LLC.

         19.    Due to the COVID-19 pandemic, Plaintiff vacated his four person apartment in

  March, to return to his permanent residence with his family.

         20.    Plaintiff, Zachary Brill, paid monthly installments of $899 through his entire

  contract term of August 21, 2019 to July 31, 2020. He paid on time every month even though he

  was no longer living on site.

         21.    Landmark refuses to return monies paid for part of the month of March through

  August although this money were collected for services Landmark did not, and could not, perform

  even though it appears the Defendant received a PPP Loan a/k/a Paycheck Protection Loan of up

  to Ten Million Dollars ($10,000,000).

     C. University Campuses Shut Down in Response to the COVID-19 Pandemic, and
        Defendant Cannot Provide the Bargained-For Services.

         22.    On March 9, 2020, Florida Governor Ron DeSantis issued Executive Order 20-52

  declaring a state of emergency for the entire state of Florida a result of COVID-19.

         23.    On March 13, 2020, President Donald Trump issued a Proclamation Declaring a

  National Emergency based upon the COVID-19 outbreak.

         24.    On March 16, 2020, President Trump and the Center for Disease Control and

  Prevention (“CDC”) issued the “15 days to slow the spread” guidance to slow the spread of the

  virus, advising individuals of social distancing measures such as avoiding gatherings of more than

  10 people, and recommending restrictions for establishments tending to attract mass gatherings

  and congregations.

         25.    Between March 18, 2020, and March 20, 2020, all six Florida universities served

  by Landmark announced that all classes would transition to remote learning through the end of the


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  Spring 2020 semester, canceling all on-campus events due to the COVID-19 pandemic. Students

  who lived in on-campus housing were told they had to move out or were strongly encouraged to

  do so, such that they had no meaningful choice but to comply.

         26.    Further, because all classes were moved online, there was no reason for students to

  remain near campus if they had other housing available to them. This is particularly so in the face

  of the dangers, risks, and fear associated with the pandemic.

         27.    Most students across the state left campus to be with their families, and to avoid

  exposure to COVID-19, and they have stayed off campus to comply with directives from the

  schools, as well as local, state and federal governments.

         28.    Recognizing that the on-campus dormitory rooms, meal plans, and services could

  not be safely used by the students, the universities have agreed to return a fair portion of the

  students’ room.

         29.    Not Landmark. Despite their March 11, 2020 assurance they would “coordinate

  with our partner university’s protocols as needed,” the fact that the student housing cannot safely

  be occupied by the students, and the fact that the bargained-for amenities could not safely be

  provided, the Defendant has refused to return any portion of the room and other fees it has

  collected.

         30.    On March 16, 2020, Landmark informed students at The Nine it would remain

  “open for business” despite the closure of all on-campus activities, including classes, for its

  serviced schools, and notwithstanding official recommendations of social distancing and the

  avoidance of groups of 10 or more people. This claim of remaining open, is not only a sham, but

  was extraordinarily dangerous. (See attached Exhibit 1)




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          31.    Additionally, on March 16, 2020, Landmark informed students at The Nine that

  “[a]ll amenities will be closed until further notice” and advised “[g]roup gatherings in units should

  be avoided. Any such gatherings should be limited to no more than two (2) guests per unit.” (See

  Exhibit 1). However, The Nine has units with up to six bedrooms! Plaintiff lived with three other

  roommates.

          32.    On March 19, 2020, Landmark informed students at The Nine that it was decided

  to eliminate all in-person visits to its offices until further notice.

          33.    On March 24, 2020, Governor DeSantis issued Executive Order 20-83, directing the

  State Surgeon General and State Health Officer to issue a public health advisory urging the public

  to avoid all social or recreational gatherings of 10 or more people, stating “it is necessary and

  appropriate to take action to ensure that the spread of COVID-19 is slowed, and that residents and

  visitors in Florida remain safe and secure.”

          34.    On March 29, 2020 President Trump extended the guidelines to be in effect until

  April 30, 2020.

          35.    On March 30, 2020, Landmark sent an email to all its residents and guarantors

  stating that the terms of the current housing agreement “remain in place” (See attached Exhibit

  2). Although Landmark “closed all resident amenity spaces,” cancelled all resident events, and

  suspended any non-essential work, they stated they were “unable to offer early termination or void

  the agreement,” and therefore expected continued payment.

          36.    On March 31, 2020 the President updated the guidelines renaming it “30 Days to

  Slow the Spread” and along with the Coronavirus Task Force urged Americans to adhere to the

  guidelines.




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          37.     Landmark’s inability to safely provide its bargained-for service was highlighted by

  their April 1 email to all of its residents and guarantors, advising that they “identified residents and

  their guests” who were breaching safety guidelines and as a result Landmark issued a number of

  fines. (See Exhibit 3). Landmark continued to demand payment from students who vacated the

  premises because it was not safe to remain, and issued fines to a number of students who

  remained in the complexes, presumably believing them to be safe.

          38.     As a result of the pandemic Landmark closed its amenities, suspended interior

  maintenance requests and laid off numerous employees.

          39.     Landmark’s demand for payment and refusal to provide partial refunds, despite

  being unable to provide the services agreed upon defies equity, common sense and is in diametrical

  opposition to the Governor and President’s directives concerning the dangers of staying in their

  facilities.

          40.     The purpose of the parties’ Lease Agreement1 was to provide student housing and

  amenities – including living arrangements, 24/7 printing and study lounge, clubhouse, resort-style

  pool, grilling station, gaming lounge, coffee bar, fitness room and fire pit.

          41.      This purpose was frustrated when the campus closed and students were ordered

  home, no longer attending on-campus classes.

                           CLASS ALLEGATIONS AGAINST LANDMARK

          42.      Plaintiff bring this action as a class action under Federal Rule of Civil Procedure

  23(a), (b)(2), (b)(3) as a representative of the following Class:




  1
    Upon information and belief, Landmark executed a lease agreement with each Plaintiff and Class Member. Details
  as to Landmarks’ relationship with landlords and class members will be more thoroughly established through
  discovery and a review of the contract between Landmark and the Florida Property landlords.


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                   All people who paid the costs of room and fees for and on behalf of students

                   residing in Landmarks’ Florida student apartment complexes, including; The

                   Standard at Tampa, The Station Alafaya, The Standard at Tallahassee, The Retreat

                   at USF, The Standard at Gainesville, The Retreat at Gainesville, GrandMarc

                   Tallahassee, The One at University City, The Standard Coral Gables, and The

                   Retreat East for the Spring 2020 semester who moved out prior to the completion

                   of the semester because of school closures relating to COVID-19.

          43.      Plaintiff reserve the right to amend or modify the Class definition with greater

  specificity or further division into subclasses or limitation to particular issues, as discovery and the

  orders of this Court warrant.

          44.      Excluded from the Class are Defendants’, the officers and directors of the

  Defendants at all relevant times, members of Defendants’ immediate families and their legal

  representatives, heirs, successors or assigns, and any entity in which Defendants have or had a

  controlling interest.

          45.      Plaintiff is a member of the Class he seeks to represent.

          46.      Landmark has thousands of customers that have paid room, and fees while schools

  were closed, and students ordered to return home. Accordingly, members of the Class are so

  numerous that their individual joinder herein is impracticable. The precise number of Class

  members and their identities are unknown to Plaintiff at this time but may be determined through

  discovery. Class members may be notified of the pendency of this action by mail and/or

  publication through the distribution records of Landmark.

          47.      Common questions of law and fact exist as to all Class members and predominate

  over questions affecting only individual Class members. Common legal and factual questions




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   include, but are not limited to, whether Landmark has refused to offer refunds and whether it has

   breached its contracts with its customers or otherwise acted unlawfully.

          48.       The claims of the named Plaintiff are typical of the claims of the Class in that the

   named Plaintiff was charged rental fees and suffered losses despite being ordered to leave campus

   and return home by school and government officials.

          49.       Plaintiff is an adequate representatives of the Class because Plaintiff’s interests do

   not conflict with the interests of the Class members Plaintiff seeks to represent, Plaintiff has

   retained competent counsel experienced in prosecuting class actions, and Plaintiff intends to

   prosecute this action vigorously. The interests of Class members will be fairly and adequately

   protected by Plaintiff and his counsel.

          50.       The class mechanism is superior to other available means for the fair and efficient

   adjudication of the claims of the Class members. Each individual Class member may lack the

   resources to undergo the burden and expense of individual prosecution of the complex and

   extensive litigation necessary to establish Landmark’s liability. Individualized litigation increases

   the delay and expense to all parties and multiplies the burden on the judicial system presented by

   the complex legal and factual issues of this case. Individualized litigation also presents a potential

   for inconsistent or contradictory judgments. In contrast, the class action device presents far fewer

   management difficulties and provides the benefits of single adjudication, economy of scale, and

   comprehensive supervision by a single court on the issue of Landmarks’ liability. Class treatment

   of the liability issues will ensure that all claims and claimants are before this Court for consistent

   adjudication.

                                                 COUNT I
                                             Unjust Enrichment




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          51.     Plaintiff hereby incorporates by reference the allegations contained in 1-50 of this

   Complaint.

          52.     Plaintiff brings this on his own behalf and on behalf of the proposed Class against

   Defendant.

          53.     Plaintiff and members of the Class conferred benefits on Landmark by paying room

   and fees, despite the closing of colleges and universities and attendant recommendations for social

   distancing and returning home.

          54.     Landmark has knowledge of such benefits.

          55.     Landmark has been unjustly enriched in retaining the revenues derived from

   Plaintiff and Class members’ payments. Retention of those moneys under these circumstances is

   unjust and inequitable because Landmark is charging its customers full price of a semester’s worth

   of room and fees of which Plaintiff and Class members cannot reasonably avail themselves.

          56.     Because Landmark’s retention of the non-gratuitous benefits conferred on it by

   Plaintiff and members of the Class is unjust and inequitable, Landmark must pay restitution to

   Plaintiff and members of the Class for their unjust enrichment, as ordered by the Court.

                                              COUNT II
                                              Conversion

          57.     Plaintiff hereby incorporate by reference the allegations contained in paragraphs 1-

   50 of this Complaint.

          58.     Plaintiff brings this claim on their own behalves and on behalf of the proposed Class

   against Landmark.

          59.     Landmark deprived Plaintiff and the other members of the Class of the value they

   paid for themselves (or the students on whose behalf they paid for) of their right to the services

   and amenities provided in the lease agreement.



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          60.     Plaintiff and members of the Class had a right to a refund of their room and fees

   while the schools the dormitories catered to were and remain closed; Landmark intentionally

   refused issuance of any refund or credit after the schools were closed; Plaintiff and Class members

   were harmed through Landmark’s unlawful retention of room and fees; Landmark’s conduct was

   a substantial factor in causing Plaintiff and Class members’ harm.

          61.     Plaintiff and members of the Class are entitled to the return of the prorated, unused

   amounts paid for room and fees through the end of the semester.

                                           COUNT III
                                      Money Had and Received

          62.     Plaintiff hereby incorporates by reference the allegations contained in paragraphs

   1-50 of this Complaint.

          63.     Plaintiff brings this claim individually and on behalf of the members of the

   proposed Class against Landmark.

          64.     Landmark received money in the form of room and fee payments that was intended

   to be used for the benefit of Plaintiff and the Class; however, those fees were not used for the

   benefit of Plaintiff and the Class, and Landmark has not given back or refunded the wrongfully

   obtained money and fees to Plaintiff and the Class.


                                           COUNT IV
                             Florida Consumer Collection Practices Act

          65.      Plaintiff hereby incorporate by reference the allegations contained in paragraphs

   1-50 of this Complaint.

          66.     Plaintiff bring this claim on his own behalf and on behalf of the proposed Class

   against Defendant.




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           67.       At all times relevant to this action Landmark is subject to and must abide by the

   law of Florida, including Florida Statute § 559.72.

           68.       Landmark has violated Florida Statute § 559.72(7) by willfully engaging in other

   conduct which could reasonably be expected to abuse or harass the debtor Plaintiff or any member

   of her family.

           69.       Landmark has violated Florida Statute § 559.72(9) by attempting to enforce a debt

   when Defendant knows that the debt is not legitimate, or to assert the existence of some legal right

   when Defendant knows that right does not exist.

           70.       Landmarks’ actions have directly and proximately resulted in Plaintiff’s prior and

   continuous sustaining of damages as described by Florida Statute §559.77.

                                            Prayer for Relief

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seek

   judgment against Landmark, as follows:


      a. For an Order certifying the Class under Rule 23 of the Federal Rules of Civil Procedure

           and naming Plaintiff as representative of the Class, and Plaintiff’s attorneys as Class

           Counsel to represent the Class members;

      b. For an Order declaring that Landmarks’ conduct violates the statutes and laws referenced

           herein;

      c. For an Order finding in favor of Plaintiff and the Class on all counts asserted, on behalf of

           the class, herein;

      d. For statutory, compensatory and punitive damages in amounts to be determined;

      e. For prejudgment interest on all amounts awarded;

      f.   For an Order of restitution and all other forms of equitable monetary relief;


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      g. For injunctive relief as pleaded or as the Court may deem proper; and

      h. For a declaration that the Lease Agreement and agreements between Landmark and

          Plaintiff are unenforceable; and

      i. For an Order awarding Plaintiff and the Class their reasonable attorneys’ fees, litigation

          expenses, and costs of suit.


                   INDIVIDUAL CLAIMS OF NAMED PLAINTIFF AGAINST
                          908 – SCANNELL (TALLAHASSEE), LLC

                                                COUNT V
                                                Rescission

          71.       Plaintiff hereby incorporate by reference the allegations contained in paragraphs

   1-50 of this Complaint.

          72.       Plaintiff was in contractual privity with the Defendant, 908 – Scannell, as tenants

   of the Defendant’s facilities. These contractual agreements involving the Plaintiff and Defendant

   were evidenced in writing and signed by the parties.

          73.       As noted above, the purpose of the contractual undertaking between the Plaintiff

   and Defendant were to provide a “student apartment” living arrangement to Plaintiff. The living

   space provided by this arrangement was bundled with a number of amenities and conveniences

   that particularly catered to students attending university campuses, such as a clubhouse, resort-

   style pool, grilling station, gaming lounge, coffee bar, fitness room and fire pit.

          74.       There has been an “equitable breach” in this case that warrants rescission because

   issues of “impossibility of performance” and “frustration of purpose” have arisen.

          75.       As to “impossibility of performance,” 908 – Scannell, was obligated to provide

   the Plaintiff with access to common areas, clubhouse, resort-style pool, grilling station, gaming

   lounge, coffee bar, fitness room and fire pit, and other services. However, as a result of the



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   COVID-19 pandemic, these common areas and services became both unsafe to provide and unsafe

   to use.

             76.   To that end, it should be noted that the only private accommodation provided at

   The Nine by Defendant was a bed and bathroom in a shared apartment. Each living unit had

   common space shared amongst multiple residents. As such, essential daily living functions were

   necessarily performed in a shared common facility with other students that any individual student

   might not know well, thus presenting a great risk for COVID-19 infection.

             77.   Indeed, it is noteworthy that very similar dormitory facilities run by the

   universities were closed down and the students urged to leave because the living arrangements

   were unsafe to occupy. This was consistent with CDC guidelines which discouraged gatherings

   of more than 10 people and advised that stringent “social distancing” measures be taken to avoid

   transmission of COVID-19. However, 908 – Scannell, through the decisions and direction of

   Landmark. because of its own selfish pecuniary interests, refused to acknowledge that the

   particular form of high-density housing arrangement that it provided was inconsistent with prudent

   safety measures.

             78.   In addition to that, it was simply not possible for students to fully access common

   areas and amenities in a prudent manner. Places such as the clubhouse, resort-style pool, grilling

   station, gaming lounge, coffee bar, fitness room and fire pit would have required student Class

   members to group together beyond what was prudent. Even the heavily-used common hallways

   presented such a risk.

             79.   For this reason, it was impossible for 908 – Scannell to provide what was

   bargained for under the lease contracts.




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          80.       As to frustration of purpose, the dorm-style living arrangement was offered as part

   of a bundled package of amenities that were a fundamental part of Defendant’s performance under

   the contract. As noted above, Defendant’s living facilities and common amenities were rendered

   unsafe to use as a result of the COVID-19 pandemic. The provision of these living arrangements

   along with the coupled amenities were the fundamental purpose of the individual Plaintiff’s

   agreement and became frustrated by the fact that they could not be safely provided or used.

          81.       In addition to its facilities being unsafe to use, Landmark marketed its premises

   as “the best apartment features & resort-style community amenities in town, all within walking

   distance to Doak Campbell Stadium and the heart of the Florida State University campus”. Given

   that the university campuses were closed, and no campus activities were taking place because of

   the COVID-19 pandemic, this frustrated an essential purpose of the Plaintiff’s contracts with 908

   – Scannell. Indeed, the very purpose of the Plaintiff’s contract with Defendant was to allow the

   student Plaintiff to attend school on university campuses, which was of course not possible due to

   the closure of the university campuses.

          82.       908 – Scannell, has been provided with ample notice of the Plaintiff’s desire for

   rescission, as noted above.

          83.       This case is suitable for rescission because the parties can be equitably restored to

   their original position or, if that result would not be equitable, a balance of equities can otherwise

   be achieved.

          84.       This count for rescission is pleaded in the alternative to any claim for legal relief.

   To the extent no remedy at law is available, rescission is appropriate.


                                              COUNT VI
                                           Breach of Contract




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          85.      The named Plaintiff hereby incorporate by reference the allegations contained in

   paragraphs 1-50 of this Complaint.

          86.      The Lease Agreement provided that each resident “shall . . . have the right to use,

   in common with other residents of the community, swimming pools, saunas, spas, tanning beds,

   exercise rooms, storerooms, laundry rooms, stairs, passageways, parking areas . . . meeting rooms

   and other areas of the Community intended for use by all residents of the Community[.]”

          87.      908 – Scannell has breached the contract because they are unable to safely provide

   these services and amenities.

                                         COUNT VII
                   Breach of Implied Covenant of Good Faith and Fair Dealing

          88.     The named Plaintiff hereby incorporates by reference the allegations contained in

   1-50 of this Complaint.

          89.     Plaintiff bring this claim on their own behalves.

          90.     In performing its leases with Plaintiff 908 – Scannell has breached the implied

   covenant of good faith and fair dealing by:

             a. Unfairly and in bad faith asserting that remaining in student housing is a reasonable

                 option for Plaintiff and proposed Class members. Student housing, whether on or

                 off campus, are not designed to safely house students in the event of a pandemic,

                 and, in order to stay safe, a vast majority of the students must move out in order to

                 practice safe social distancing in accordance with CDC recommendations.

             b. Unfairly and in bad faith representing that its properties serve as private residences

                 to compliment students’ academics. However, once the schools have closed and the

                 students it purports to serve have been forced to leave, the reality reveals itself that

                 908 – Scannell does not consider its provision of room, board, and services to be



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                 tied whatsoever to the schools or to the students’ academics, as it has failed to refund

                 unearned payments for room, board, and fees.

             c. Unfairly and in bad faith failing to refund any monies paid by the Plaintiffs and

                 proposed Class that remain unused as a result of the COVID-19 pandemic.

          91.     As a result of 908 – Scannell breach of the implied covenant of good faith and fair

   dealing as set forth above, Plaintiff has been damaged.


                                            Prayer for Relief

          WHEREFORE, the named Plaintiff, respectfully demands a trial by jury on all issues so

   triable and judgment against Defendant, 908 – Scannell (Tallahassee), Inc., for statutory damages,

   punitive damages, actual damages and any other relief the court may deem just and proper.


                                  DEMAND FOR TRIAL BY JURY

          Plaintiff demands a trial by jury of all issues so triable.


                                                  Respectfully submitted,

                                                  William “Billy” Peerce Howard, Esquire
                                                  William “Billy” Peerce Howard, Esquire
                                                  Amanda J. Allen, Esquire
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